DATE: October 5, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Christina M. Mollenhauer
             v. Commonwealth of Virginia
             Record No. 0803-20-2
             Opinion rendered by Chief Judge Decker on
              July 6, 2021

          2. Ronnie Lee Johnson
             v. Commonwealth of Virginia
             Record No. 0443-20-3
             Opinion rendered by Judge AtLee on
              July 27, 2021

          3. Brian Wesly Ruff
             v. Commonwealth of Virginia
             Record No. 0694-20-2
             Opinion rendered by Judge Athey on
              July 27, 2021

          4. John Crescent Ndunguru
              v. Commonwealth of Virginia
              Record No. 0855-20-4
              Opinion rendered by Senior Judge Haley on
              August 3, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:


1. Tobias O. Reed
   v. Commonwealth of Virginia
   Record No. 1305-15-4
   Opinion rendered by Judge Beales upon remand from the Supreme Court
    on November 12, 2019
   Refused (200074)

2. Ruebin Clifton Fletcher
   v. Commonwealth of Virginia
   Record No. 1736-19-2
   Opinion rendered by Judge O’Brien
    on November 10, 2020
   Refused (210442)
